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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

   IMPLICIT, LLC,                                §
                                                 §
               Plaintiff,                        §
          v.                                     §
                                                 §
                                                 §
   IMPERVA, INC.                                      Case No. 2:19-cv-00040-JRG-RSP
                                                 §
                                                      LEAD CASE
                                                 §
                                                 §
   JUNIPER NETWORKS, INC.                             Case No. 2:19-cv-00037-JRG-RSP
                                                 §
                                                      CONSOLIDATED CASE
                                                 §
                                                 §
   FORTINET, INC.,                                    Case No. 2:19-cv-00039-JRG-RSP
                                                 §
               Defendants.                       §    CONSOLIDATED CASE


                                              ORDER

         Before the Court are (1) Defendant Juniper Networks, Inc.’s (“Juniper”) Motion to Stay
  .
   Pending Decision on Transfer Motions (Dkt. No. 174); and (2) Defendant Fortinet, Inc.’s

  (“Fortinet”) Opposed Motion to Stay Pending Sandvine Appeal and Resolution of Fortinet’s

  Pending Motions to Transfer (Dkt. No. 202). Both of these Motions seek to stay this case until the

  resolution of the Motions to Transfer that were filed by Juniper (Dkt. No. 164) and Fortinet (Dkt.

  No. 185).

         After consideration, the Court GRANTS these Motions to Stay (Dkt. Nos. 174 &

  202) pending the resolution of the Motions to Transfer that were filed by Juniper (Dkt. No.

  164) and Fortinet (Dkt. No. 185).
         SIGNED this 3rd day of January, 2012.
         SIGNED this 19th day of February, 2020.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE
